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 1                                                                        FILED IN THE
                                                                      U.S. DISTRICT COURT

 2
                                                                EASTERN DISTRICT OF WASHINGTON




 3                                                               Jun 06, 2022
                                                                     SEAN F. MCAVOY, CLERK
 4
 5                        UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,
 9                            Plaintiff,           No. 1:21-CR-02019-SAB-1
10         v.
                                                   ORDER GRANTING
11 ISRAEL MENDOZA SALAS,                           UNOPPOSED MOTION TO
12                            Defendant.           CONTINUE TRIAL

13
14         Before the Court is Defendant’s Unopposed Motion to Continue Trial, ECF
15 No. 24, and associated Motion to Expedite, ECF No. 26. The motions were
16 considered without oral argument and on an expedited basis. Defendant Israel
17 Mendoza Salas is represented by Assistant Federal Defenders Paul Shelton and
18 Nick Mirr. The United States of America is represented by Assistant United States
19 Attorney Richard Burson.
20         Mr. Salas and his counsel request that the Court continue the pretrial
21 conference, trial date, and related deadlines in this matter to provide additional
22 time to review discovery and perform factual and legal investigation. ECF No. 24
23 at 2. The United States does not oppose the request. Id. at 3. Mr. Salas filed a
24 signed Waiver of Speedy Trial excluding time under the Speedy Trial Act, 18
25 U.S.C. § 3161, to September 12, 2022. ECF No. 25. For the specific reasons stated
26 in Mr. Salas’ motion, the Court finds that the ends of justice served by such a
27 continuance outweigh the public’s and Defendant’s interest in a speedy trial.
28 //


     ORDER GRANTING UNOPPOSED MOTION TO CONTINUE TRIAL *1
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 1        Accordingly, IT IS HEREBY ORDERED:
 2        1.     Defendant’s Unopposed Motion to Continue Trial, ECF No. 24, is
 3 GRANTED.
 4        2.     Defendant’s Motion to Expedite, ECF No. 26, is GRANTED.
 5        3.     The current trial date of July 11, 2022, is STRICKEN and RESET to
 6 September 12, 2022, at 9:00 a.m., commencing with a final pretrial conference at
 7 8:30 a.m. All hearings shall take place in Yakima, Washington.
 8        4.     The pretrial conference on June 22, 2022, is STRICKEN and RESET
 9 to August 31, 2022, at 10:30 a.m. in Yakima, Washington. Counsel shall advise
10 the Court regarding any dispositive change in the status of this case at least five
11 (5) days prior to the pretrial conference. Any motion to continue the pretrial
12 conference or trial shall be filed at the earliest practicable opportunity, but no later
13 than seven (7) days prior to said proceeding. Movant shall provide (1) specific
14 and detailed reasons for the continuance to permit the Court to make the necessary
15 findings; (2) if applicable, the Defendant’s signed Speedy Trial Waiver; (3) the
16 position of opposing counsel; and (4) the proposed new date. Continuances are not
17 granted absent good cause.
18        5.     All pretrial motions, including motions in limine and Daubert
19 motions, shall be filed and served on or before August 15, 2022, and noted for
20 hearing at the pretrial conference. Any response to a pretrial motion shall be filed
21 and served in accordance with Local Rule 7.1.
22        6.     Pursuant to 18 U.S.C. § 3161(h)(7)(A), the time between July 11,
23 2022, the current trial date, until September 12, 2022, the new trial date, is
24 DECLARED EXCLUDABLE for purposes of computing time under the Speedy
25 Trial Act. The Court finds that the ends of justice served by such a continuance
26 outweigh the public’s and Defendant’s interest in a speedy trial.
27        7.     Trial briefs, proposed voir dire, jury instructions, verdict forms,
28 exhibit lists, expert witness lists, and summaries of expert testimony shall be filed


     ORDER GRANTING UNOPPOSED MOTION TO CONTINUE TRIAL *2
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 1 and served by all parties on or before seven (7) calendar days prior to trial. This
 2 does not modify the parties’ discovery obligations under Fed. R. Crim. P. 16.
 3 Absent an agreement between the parties or an Order from the Court, the parties’
 4 Fed. R. Crim. P. 16 discovery deadlines shall be governed by Local Criminal Rule
 5 16.
 6        IT IS SO ORDERED. The District Court Executive is hereby directed to
 7 enter this Order and furnish copies to counsel.
 8        DATED this 6th day of June 2022.
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                                  Stanley A. Bastian
14                        Chief United States District Judge
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     ORDER GRANTING UNOPPOSED MOTION TO CONTINUE TRIAL *3
